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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )            8:06CR315
                                                )
      vs.                                       )             ORDER
                                                )
BRIGIDO MORENO,                                 )
                                                )
                    Defendant.                  )


      This matter is before the court on the motion of defendant Brigido Moreno (Moreno)
to reconsider detention (Filing No. 61). The court held a hearing on the motion on January
19, 2007, following Moreno’s change of plea hearing. Moreno seeks placement at CH, Inc.,
in Council Bluffs, Iowa, where he has been tentatively accepted. However, there is yet
question as to Moreno’s real identity because of his numerous use of alias names,
Furthermore,   it has been determined that Moreno is in the United States illegally.
Accordingly, Moreno’s motion for reconsideration of detention will be denied.


      IT IS ORDERED:
      Moreno’s motion for reconsideration of detention (Filing No. 61) is denied.
      DATED this 22nd day of January, 2007.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
